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 8                          UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
10   M.G. and J.H., individually on behalf of       Case No.
     themselves and on behalf of all others
11   similarly situated,
12                Plaintiffs,                       CLASS ACTION COMPLAINT
13          v.
14   ASHLYNN MARKETING GROUP, INC.,                 DEMAND FOR JURY TRIAL
     doing business as SE7EN, and DOES 1-50,
15   inclusive,
16                Defendants.
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                                     CLASS ACTION COMPLAINT
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 1          Plaintiffs M.G. and J.H. (collectively, “Plaintiffs”)1 bring this action on behalf of
 2   themselves, and all others similarly situated, against Defendants Ashlynn Marketing
 3   Group, Inc., doing business as Se7en (“Defendant” or “Se7en”), and Does 1 through 50,
 4   inclusive (collectively, “Defendants”). Plaintiffs make the following allegations pursuant
 5   to the investigation of their counsel and based upon information and belief, except as to the
 6   allegations specifically pertaining to themselves, which are based on personal knowledge.
 7                                 NATURE OF THE ACTION
 8          1.    This is a civil class action against Se7en for its false, misleading, deceptive,
 9   and negligent sales practices regarding its Se7en brand 7-Hydroxymitragynine (“7-OH”)
10   tablet and shot products (collectively, the “Products,” the “Tablets,” or the “Shots”).2 These
11   Products are sold in smoke shops, gas stations, and online storefronts as if they were benign
12   herbal supplements—when in reality, they are chemically potent substances akin to opioids
13   that cause powerful dependence, painful withdrawal symptoms, and severe psychological
14   and physical harm.
15          2.    7-OH is a psychoactive alkaloid found in trace amounts in the leaves of the
16   kratom plant (mitragyna speciosa), a tropical plant indigenous to Southeast Asia. While
17   kratom itself has long been consumed in raw or powdered form for its stimulant and opiate-
18   like effects, the 7-OH alkaloid is far more potent than kratom’s primary alkaloid,
19   mitragynine (“MG”), and acts on the same mu-opioid receptors in the human brain as
20   morphine, heroin, oxycodone, and fentanyl.
21          3.    However, what consumers do not know is that the opiate-like effects produced
22   by MG and 7-OH are not the result of novel chemical interactions in the brain. Rather,
23   these alkaloids behave, in part, exactly like opioids. That is, the MG and 7-OH alkaloids
24

25   1
       Because this action concerns issues of addiction and medical status, Plaintiffs are filing
26   under their initials for the sake of their personal privacy. Plaintiffs are reasonable
     consumers who fell victim to Defendant’s omissions and misrepresentations about the
27   addictive nature of kratom and 7-OH, which operates like an opioid, and became addicted
     as a result. Since addiction issues are still wrongly stigmatized, Plaintiffs are filing this
28   matter anonymously but will reveal their names as necessary to the Court under seal.
     2
       This includes Defendant’s 30 mg 7-OH Tablets, 20 mg 7-OH Tablets, 15 mg 7-OH
     Tablets, and 30 ml 7-OH Liquid extract Shots.
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 1   found in the kratom plant bind to the same opioid receptors in the human brain as morphine,
 2   heroin, and other opiates and opioids.3 Consequently, kratom consumption has the same
 3   risks of addiction, dependency, and painful withdrawal symptoms, among various other
 4   negative side effects as traditional opioids.
 5          4.    But it gets worse. While both active alkaloids in kratom interact with the
 6   opioid receptors, 7-OH is substantially more potent than MG. Indeed, some studies have
 7   shown that 7-OH is ten times more potent than morphine in activation of these opioid
 8   receptors.4 As a result, the consumption of 7-OH—even in seemingly low doses—can
 9   produce the same cycle of euphoria, physical dependence, rapid tolerance, and excruciating
10   withdrawal symptoms associated with traditional opioid addiction.
11          5.    Raw kratom powder typically contains less than 0.05% 7-OH by weight. In
12   contrast, Defendant’s Se7en Products are specially formulated to contain concentrated or
13   isolated doses of 7-OH—often in amounts equivalent to many times what occurs naturally
14   in the plant. This makes Se7en significantly more dangerous and addictive than raw kratom
15   or even traditional kratom extracts.
16          6.    While Defendant also sells raw kratom, primarily under the brand name
17   Krave, that is not the subject of this lawsuit. Rather, this lawsuit concerns the highly potent
18   7-OH formulation it sells under the Se7en brand name, which Defendant disguises as
19   flavored “kratom” Tablets (including the flavors cherry, grape, mango, pina colada, lemon,
20   and various others) and liquid “shots” (including the flavors Blueberry Smash, Peach
21   Mango, Strawberry Ice, and Watermelon Ice, and Unflavored Original).
22          7.    These Products are substantially more addictive than kratom and produce
23   opioid-like withdrawal symptoms that are often described by users as worse than heroin or
24   prescription painkiller withdrawal.
25

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     3
       An opiate is a substance derived from opium whereas an opioid is any substance that
     binds with the mu-opioid receptor.
27   4
       Genevieve M Halpenny, Mitragyna Speciosa: Balancing Potential Medical Benefits and
     Abuse, 8 (9) ACS Med. Chem. Lett. 898 (2017); Azin Behnood-Rod, et al., Evaluation of
28   the Rewarding Effects of Mitragynine and 7-Hydroxymitragynine in an Intracranial Self-
     Stimulation Procedure in Male and Female Rats, 215 Drug & Alcohol Dependence 2
     (2020) (finding 7-OH was 13-fold more potent than morphine).
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 1         8.     Almost immediately after Se7en hit the market, consumer reports began to
 2   emerge online detailing the terrifying experiences of users who became rapidly addicted
 3   and suffered severe withdrawals. Many of these consumers thought they were purchasing
 4   a kratom product—or even a safe herbal supplement—only to find themselves chemically
 5   dependent and unable to stop using Se7en without medical intervention.
 6         9.     The general public is largely unfamiliar with kratom and its alkaloids. So,
 7   when it comes to “7-Hydroxymitragynine,” a derivative of kratom with a torturously
 8   complex name, the public is even less aware of it and its negative effects. Even among
 9   kratom users, few understand what 7-OH is, let alone how it works in the brain. Defendant
10   has capitalized on this knowledge gap by branding Se7en as a “next generation” kratom
11   product without disclosing that it functions, in all meaningful ways, as an opioid.
12         10.    Reasonable consumers associate opioids with prescription drugs and illegal
13   narcotics—not “kratom alkaloid” products sold next to energy drinks and CBD gummies.
14   They do not expect these Products to induce the same dependency, withdrawals, or long-
15   term harm as heroin or oxycodone. But 7-OH is, in fact, extremely addictive, and as a
16   result, countless unsuspecting consumers have developed 7-OH dependencies that have
17   severely damaged their health, relationships, and finances.
18         11.    Defendant has intentionally omitted this critical information regarding the
19   dangers of 7-OH consumption from its Se7en packaging, labeling, and marketing
20   materials. The Products contain no clear warnings regarding their similarity to opioids,
21   their highly addictive nature, or the intense withdrawal symptoms that may follow even
22   short-term use.
23         12.    Defendant has deliberately chosen to exploit consumer ignorance for profit.
24   Se7en’s marketing emphasizes the “natural” or “kratom-based” character of Se7en while
25   omitting or downplaying its narcotic potency. Defendant relies on this deception to draw
26   consumers into compulsive use—and to keep them coming back. This strategy is not only
27   dangerous and immoral—it is a violation of California law and public policy.
28



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 1           13.   Plaintiffs bring this action on behalf of themselves and all others similarly
 2   situated for Defendant’s violations of: (i) California’s Unfair Competition Law, Business
 3   and Professions Code §§ 17200, et seq. (“UCL”); (ii) California’s Consumers Legal
 4   Remedies Act, Civil Code §§ 1750, et seq. (“CLRA”); (iii) California’s False Advertising
 5   Law, Business and Professions Code §§ 17500, et seq. (“FAL”); (iv) breach of implied
 6   warranty; (v) unjust enrichment; and (vi) fraud by omission.
 7                                 JURISDICTION AND VENUE
 8           14.   This Court has subject matter jurisdiction over this action pursuant to the Class
 9   Action Fairness Act, 28 U.S.C. § 1332(d)(2), because this case is a class action in which
10   the aggregate claims of all members of the proposed Classes (defined below), exclusive of
11   interest and costs, exceed $5,000,000, and at least one member of the proposed Classes is
12   a citizen of a different state than Defendant.
13           15.   This Court has personal jurisdiction over Defendant because Defendant has
14   engaged in conduct purposefully directed at California and has sufficient minimum
15   contacts with the state and this District to render the exercise of jurisdiction constitutionally
16   proper.
17           16.   Venue is proper in the United States District Court for the Central District of
18   California, Western Division, pursuant to 28 U.S.C. § 1391, because a substantial part of
19   the events or omissions giving rise to the claims occurred in this District. Additionally,
20   Plaintiff J.H. resides in this District, purchased and used the Products here, and suffered
21   harm in this District as a result of Defendant’s misconduct.
22                                  GENERAL ALLEGATIONS
23   A.      Background and Pharmacology of Kratom and 7-OH
24           17.   “Kratom” refers to the substance derived from the leaves of the Mitragyna
25   speciosa plant (the “kratom plant”), a tropical tree indigenous to Southeast Asia. Kratom
26   leaves have been used for centuries in traditional herbal medicine, particularly in Thailand,
27   Indonesia, and Malaysia, where they were consumed for both their stimulant properties
28   (when chewed raw) and sedative effects (when brewed as a tea).


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 1          18.   Kratom’s long history of use in Southeast Asia does not equate to an
 2   endorsement of its safety. Thailand, for example, banned kratom in 1943 due to concerns
 3   about addiction and abuse.5 Malaysia followed suit in 1952 under the Poisons Act. These
 4   bans reflect the longstanding recognition in those regions of kratom’s risks.
 5          19.   Kratom’s effects are diverse and often inconsistent, depending on dosage,
 6   preparation, and individual biology. At low doses, it may act as a mild stimulant. At higher
 7   doses, it can produce opioid-like effects, including euphoria, sedation, and analgesia.
 8          20.   In the United States, kratom began to gain popularity in the past decade and
 9   is now widely sold in smoke shops, gas stations, convenience stores, herbal stores, “head”
10   shops, and online platforms. It is often marketed as an “herbal supplement” that purportedly
11   helps with pain relief, anxiety, mood enhancement, and opioid withdrawal symptoms,
12   and/or to obtain a “legal” or “natural” high—despite the lack of FDA approval for any of
13   these treatments and increasing concerns over its addictive potential.
14          21.   Commercial kratom products are typically made by harvesting kratom plant
15   leaves, drying them, and crushing them into a fine powder that is then packaged and sold
16   in pouches, capsules, or liquid extracts. 6 These products are usually advertised as “natural”
17   and “safe” alternatives to prescription medication.
18          22.   The primary psychoactive components in kratom are alkaloids—naturally
19   occurring organic chemical compounds. The two most pharmacologically active alkaloids
20   in kratom are MG and 7-OH. These chemicals interact with the central nervous system to
21   produce a wide range of physiological effects.
22          23.   MG and 7-OH produce a wide spectrum of effects because they bind to
23   multiple receptors in the brain, including adrenaline, D2 dopamine receptors, and serotonin
24   receptors, all of which contribute to kratom’s mood-lifting and stimulant-like effects. Most
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       In 1943, Thailand banned the possession, use, and propagation of kratom, and later
     banned all kratom sales, imports, exports, and consumption all together. However, in 2021,
27   Thailand decriminalized possession of kratom in response to a growing pressure on its
     justice system to fix the country’s overcrowded prisons through liberalization of its drug
28   laws.
     6
       When kratom leaves are extracted into a liquid formulation, this is colloquially called a
     kratom “extract shot.”
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 1   notably, they also bind to the mu-opioid receptors. It is this opioid receptor binding that
 2   causes the euphoric and analgesic effects commonly associated with kratom—and that also
 3   creates a serious risk of physical dependence and withdrawal.
 4          24.    Defendant Ashlynn Marketing Group, Inc.’s Products, sold under the brand
 5   Se7en, are not traditional kratom products. Se7en is a highly concentrated, chemically
 6   refined version of kratom in which 7-OH is the primary active ingredient, while the other
 7   natural alkaloids are stripped away. These Se7en Products (sold in Tablet and liquid Shot
 8   form) represent a “next generation” iteration of kratom with dramatically enhanced
 9   potency, addictiveness, and health risk.
10          25.    In raw kratom powder, 7-OH typically comprises less than 2% of total
11   alkaloid content or 0.05% by weight. By contrast, Se7en’s Products contain pure or nearly
12   pure 7-OH, making them exponentially stronger. Some Se7en formulations may contain
13   does of 15 mg or more of 7-OH per serving—amounts many times higher than found in
14   nature.
15          26.    While both MG and 7-OH activate the mu-opioid receptor,7 their relative
16   potencies differ significantly. 7-OH has a much higher binder affinity and opioid-like effect
17   than MG, and studies show that when 7-OH is administered in concentrated, isolated doses,
18   it presents a significantly greater risk of inducing physical and mental addiction in
19   consumers than raw kratom. In fact, studies show that 7-OH’s effect on the opioid receptors
20   is approximately forty-six times more potent than MG, and thirteen times more potent than
21   morphine. 8
22          27.    Because of this, 7-OH is not merely similar to an opioid—it is an opioid, both
23   in mechanism and effect. It carries the same addiction risks as traditional opioids, such as
24   oxycodone and hydrocodone, and may induce even more intense withdrawal symptoms.
25

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     7
       The mu-opioid receptor produces the most addictive or habit-forming effects, such as
     euphoria and analgesia. For this reason, the mu-opioid receptor is known as “the gateway
27   to addiction” because it is the receptor that all opioids activate to produce the classic opioid
     high feelings of euphoria, sedation, and pain relief.
28   8
       Steven C. Eastlack, et al., Kratom—Pharmacology, Clinical Implications, & Outlook: A
     Comprehensive           Review,           National         Library         of         Medicine,
     https://www.ncbi.nlm.nih.gov/pmc/articles/PMC7203303.
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 1         28.    Addiction to opioids occurs when regular use causes the brain to adapt to the
 2   presence of the drug, requiring larger and more frequent doses to achieve the same effects.
 3   Once tolerance and physical dependence set in, withdrawal symptoms emerge when the
 4   drug is no longer consumed—often driving the user into a compulsive cycle of continued
 5   use just to avoid sickness. The tragedy of addiction is that users want to stop but cannot.
 6         29.    All substances that act on the opioid receptors have a high risk of addiction
 7   and withdrawal symptoms, and 7-OH is no exception. These 7-OH withdrawal symptoms
 8   are widely documented and include insomnia, irritability, anxiety, depression, muscle and
 9   bone pain, diarrhea, chills, difficulty concentrating, sleep disturbance including restless
10   legs, tearing up, runny nose, stomach pain, muscle spasms, diarrhea, decreased appetite,
11   chills, temperature dysregulation, extreme dysphoria, malaise, and intense psychological
12   distress. The experience can be severe, lasting for days or even weeks, depending on dosage
13   and duration of use.
14         30.    Many consumers begin using 7-OH products like Se7en for mood
15   enhancement, pain relief, or energy. But over time, they discover they no longer are using
16   the Products to feel good—they are using them to avoid feeling horrifically sick.
17         31.    Se7en’s ultra-potent 7-OH formulations drastically accelerate the addiction
18   timeline. What might take months or years to develop with raw kratom can occur in a
19   matter of weeks or even days with Se7en. As a result, consumers who believed they were
20   trying a natural supplement quickly find themselves chemically dependent and physically
21   trapped.
22         32.    Despite the serious health risks associated with 7-OH, Defendant fails to
23   disclose these facts anywhere on the Se7en packaging, marketing materials, or online
24   storefronts. Reasonable consumers—many of whom are attempting to avoid or overcome
25   opioid addiction—are being sold a deceptively packaged and dangerously addictive opioid
26   without proper warnings or informed consent.
27

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 1   B.       The Rise of Kratom and 7-OH Addiction in the United States
 2            33.   Over the past decade, kratom has grown from a niche botanical to a major
 3   commercial product in the United States. As of 2021, the American Kratom Association
 4   estimated that kratom sales reached $1.3 billion annually, with an estimated 11 million to
 5   15 million annual users within the United States. Studies show approximately one million
 6   United States residents use kratom monthly, and that two-thirds of those individuals use it
 7   daily.
 8            34.   This explosive growth is due, in large part, to misleading marketing and
 9   regulatory gaps. Kratom is widely touted as a “safe,” “natural,” and “legal” substitute for
10   painkillers, anxiety medication, antidepressants, and even as a treatment for opioid
11   withdrawal. Kratom’s marketing as a safe substitute for painkillers therefore appeals to
12   consumers who falsely equate “natural” with “safe.” It is also frequently marketed as a
13   nootropic or “smart drug” due to its stimulant effects at low doses. These claims—paired
14   with the lack of federal regulation—have made kratom attractive to consumers seeking
15   relief or enhancement without realizing the addiction risks they are incurring.
16            35.   While kratom itself is underregulated and poorly understood by consumers,
17   7-OH—its far more potent derivative—is virtually unknown to the public. 7-OH products
18   did not emerge on the retail market until approximately 2022 and began to proliferate in
19   earnest in 2023, including through the introduction of Defendant’s Se7en Tablets and liquid
20   Shots.
21            36.   Most consumers have never heard of 7-OH. Even those familiar with kratom
22   are often unaware that 7-OH is a separate, highly concentrated alkaloid derivative with
23   dramatically enhanced potency and addictive potential. Many consumers falsely assume
24   that 7-OH is simply a stronger or more refined version of kratom powder, without realizing
25   it behaves pharmacologically like a synthetic opioid.
26            37.   Defendant and other 7-OH product sellers advertise them as energy enhancers,
27   mood boosters, pain relievers, or tools for managing opioid withdrawal—all while failing
28   to disclose any of the grave risks of addiction, dependency, and withdrawal. Some even


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 1   assure consumers that 7-OH is a non-addictive way to deal with opioid withdrawal. These
 2   7-OH companies universally reiterate these purported “benefits” of 7-OH consumption,
 3   without disclosing any of its corresponding harms. These omissions are not merely
 4   negligent—they are materially deceptive.
 5           38.     Consumers who use 7-OH products like Se7en often do so under the mistaken
 6   belief that they are safe, non-addictive supplements. When they abruptly stop using 7-OH,
 7   many are stunned to find themselves suffering from severe withdrawal symptoms
 8   indistinguishable from opioid withdrawal. Compounding the problem, there are no widely
 9   recognized treatment programs or medical protocols designed specifically for 7-OH
10   addiction, leaving consumers without support or guidance.
11           39.     As awareness of 7-OH’s dangers grows, many consumers have turned to
12   online forums for help, such as the “Quitting Kratom” subreddit on Reddit.com. That
13   forum, which had over 51,000 members as of June 2025, contains first-hand accounts
14   describing the unexpected, severe, and at times life-threatening withdrawal symptoms
15   consumers experienced after using 7-OH products. 9
16           40.     These consumer reports are consistent and alarming. Below are a sampling of
17   actual anonymized accounts posted publicly to Reddit:
18                  i.     In one post titled Do no take 7oh, a user wrote:
19           I’m going to say this loud and clear for everyone in their early stages of
20           quitting, currently, or have already quit. DO NOT take this 7oh shit. It’s
21           fucking poison. It’s nothing like the extracts and it’s a very VERY taxing drug
22           on the body. I have done every single thing under the sun and I can honestly
23           say with confidence that this is by far bar none the absolute worst drug I’ve
24           ever taken when it comes to detoxing.
25                 ii.     In another post titled Beware of 7-Hydroxymitragynine, a user wrote:
26           I ended up getting these extract pills that were 14mg of 7 Hydroxymitragynine
27           per pill. Used them for about a week for some bad pain, and then got thrown into
28
     9
       See r/quittingkratom, REDDIT, https://www.reddit.com/r/quittingkratom (last visited
     June 26, 2025).
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 1       aggressive withdrawal. I’ve been on a now 3 month taper journey off of just a
 2       week of using them. It’s been hell. Trying to get there slowly tapering. Just
 3       wanted to put the PSA out there, something like [7-OH] might be tempting, and
 4       it is incredible for pain, but it threw me into awful withdrawal that’s now forced
 5       me to have to taper off of it and take a dose every 12 hours. This was after 2 and
 6       a half years of regular Kratom use that never gave me withdrawal. This week of
 7       using [7-OH] though mixed with my 2 and a half years of Kratom experience
 8       created a withdrawal shitstorm that was never expected. Beware.
 9                     a.     Another user responded:
10       I don’t know how you’re cold turkey from [7-OH], I tried and it was worse
11       than when I had to kick morphine. I’ve had to do a long and slow taper with
12       6grams of Kratom powder every 12 hours currently. The [7-OH] withdrawal
13       is very scary, worse than any opiate I’ve been on.
14                     b.     Another User Responded:
15       I started taking those because the guy suggested them now it’s every day for
16       3 months. I can’t stop and get bad withdrawals at 24 hr mark. I’m taking about
17       6 a day now and I’m spending over 1K per month now it’s going to ruin me
18       if I don’t stop. I can’t believe this is legal, idk what to do
19           iii.      In separate post another user wrote:
20       Guys I desperately need help. I have been taking [7-OH] for maybe 6 months.
21       Like more than three a day. The more research I do on them the more I
22       realize they’re not even Kratom and no one scientifically really knows
23       anything about them. I am going across the country tomorrow and am going
24       to be CT for 8 days. I actually really want to stop and I’ve been trying to for
25       a really long time, but I am terrified of the withdrawals. I don’t know what to
26       do. I actually upped my dose this week and have probably been taking more
27       like five a day. I am so embarrassed to say that, I am now realizing that
28       everyone is cautioning even the fucking American Kratom Society about


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 1         these things. I’m really worried about my mental health not to mention I am
 2         going to be with my wife/kids and parents for 8 days. I don’t know what I was
 3         thinking. Any recommendations?
 4               iv.     In another post titled Could not and would not believe you
 5         all…another user wrote:
 6         Long time lurker, first time poster. I went CT three days ago… after using for
 7         1 1/2 years. The last 3 months I’ve been exclusively abusing the [7-OH]
 8         tablets, a full pack of three a day. I told myself you were all exaggerating. I
 9         told myself you were all weak. Now I’m completely humbled and fully
10         ashamed. The last three days I’ve experienced a fatigue and fever like I’ve
11         never experienced before. Trying to fall asleep and stay asleep, is absolutely
12         impossible. During the night I sweat through my sheets…during the day I feel
13         like a walking corpse. And I caved. I took half a tablet today just to stop the
14         WD symptoms I was feeling. Now my brain just wants to rationalize what
15         I’ve done. But I know, deep down this was the wrong move…I’m truly
16         ashamed. I share this post for the people like me, who are lurking or glancing
17         at this subreddit from time to time and telling themselves “naw I’ll be fine…I
18         can handle the WD whenever I decide or if I ever stop.” I share this post for
19         future me to look at to read and see the seriousness of my addiction and
20         situation. I know that next time I quit I need to be more prepared. If you abuse
21         it the way I do…Kratom is robbing you of life, and you trade it willingly for
22         a 2 hour high. There’s so much more to life than getting high. Thank you to
23         this community, I hope you all know how much reading your stories and
24         struggles does for someone like me. Thank you �
25         41.     These are not isolated cases. They reflect a widespread and growing crisis:
26   consumers who were misled into thinking they were buying a harmless supplement are
27   now chemically dependent on a highly potent opioid-like substance, with no medical
28   guidance or legal warnings to protect them.


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 1         42.     Other experiences with kratom (not necessarily the more potent 7-OH
 2   Products) described on the subreddit are similarly horrifying:
 3                i.    One user wrote:
 4         I started using kratom in pill and powder form a couple years ago. I had no
 5         idea it was addictive, and I liked how it made me feel.... so much that I went
 6         from using it a couple weekends a month to wanting to use it every weekend
 7         to wanting to use it every day. I upped my dose a whole bunch, and soon I
 8         started to realize that, when I didn’t take it, I would start to get what seemed
 9         like withdrawals! WTF? I googled it and did some more research and learned
10         that I was indeed going through withdrawals. I immediately decided to suck
11         it up and get off that stuff and spend a week withdrawing. Unfortunately, it
12         wasn’t that simple. I was addicted. That poison was in my mind constantly. I
13         started using again and, LONG story short and many MANY other withdrawal
14         attempts later, I had lost my JOB, my boyfriend, and my personality. It landed
15         me in the hospital many times actually. I was losing hair, my eyes looked
16         horrible, my skin was horribly dry, and I was miserable. I decided to go to
17         REHAB. Effing rehab for this sh!t.
18               ii.    Another user shared:
19         I just tapered down from 80gpd to 20, and the experience was so awful that I
20         just decided to jump yesterday, figuring “Let’s just get this over with already!”
21         Well, I gotta tell you, last night may have been one of the roughest nights of
22         my life. It felt like a bad acid trip. I got zero sleep. The RLS was so bad I kept
23         getting out of bed, bundling up, which was exhausting in itself, and going for a
24         loop around the property outside; while hoping to be able to crawl back in bed
25         and actually sleep. Nope. It felt like I was being electrocuted!!! This is even
26         with clonidine and gabapentin. But, I’m determined to NEVER go through that
27         first night again! (And of course I was lamenting my rash decision to jump, and
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 1         DYING to take some K). But, there’s no turning back now. I’m hoping I’ll get
 2         some sleep tonight since I had none last night. Wish me luck please :).
 3                iii.     Another user shared:
 4         I was the worst kratom addict I knew and now I’m coming up on 5 months
 5         sober. Let me first qualify VERY quickly… Multiple extract shots a day,
 6         crying on the way to the store, cut up all my credit cards multiple times (until
 7         I got Apple Pay), sent my credit cards to myself in the mail, got on oral
 8         naltrexone, got on vivitrol (the injectable shot), gave my wife my wallet, lied
 9         every day, ... Today I’m sober off of everything and almost 5 months clean. I
10         don’t crave alcohol or drugs anymore. Cravings were my biggest problem. I
11         don’t think about kratom all day any longer. I had to walk my sad @$$ all the
12         way to a 12 step program in order to get help. I have to talk to other struggling
13         people. I had to start working a program of recovery which i still work…My
14         habit was $50 a day, and with a newborn and mortgage etc I’m still trying to
15         climb out of that hole. But man, to go from complete self-hate to self-love
16         makes everything worth it. I hated myself, not anymore.
17         43.       This Internet forum is filled with other accounts like these, and the stories are
18   consistently the same: well-meaning people were looking to feel better by taking what they
19   thought was an “herbal supplement,” only to develop an opioid-like addiction. This
20   anecdotal evidence makes clear that 7-OH’s addictive potential is a material fact to
21   reasonable consumers that, if known, would help inform their purchase and consumption
22   decisions.
23         44.       Defendant’s failure to warn consumers that 7-OH acts as a mu-opioid receptor
24   agonist, induces physical dependency, and causes opioid-like withdrawals is not just
25   unethical—it is unlawful. Reasonable consumers would find these omitted facts material
26   to their decision to purchase and consume Se7en Products. Had they known the truth, many
27   would not have purchased the Products at all, or would have paid substantially less.
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     C.    Defendant Knew or Should Have Known It Was Selling a Highly Addictive
 1         Drug to Unsuspecting Consumers
 2         45.    Defendant manufactures and sells a line of 7-OH Products using advanced
 3   chemical extraction techniques to isolate and concentrate 7-OH—a potent opioid agonist.
 4         46.    Despite this technical expertise, and despite its intimate awareness of 7-OH’s
 5   effect on the human brain, Defendant deliberately omits any clear and conspicuous warning
 6   of the Products’ addictive nature from its packaging, labeling, and front-facing marketing.
 7         47.    Defendant has no plausible excuse for this omission. The pharmacological
 8   properties of 7-OH are well-established: it is a selective and highly potent mu-opioid
 9   receptor agonist, with some reports indicating significantly greater receptor affinity than
10   morphine. 10 Scientific literature and firsthand consumer experiences alike establish that 7-
11   OH presents a severe and foreseeable risk of addiction and withdrawal.
12         48.    As a manufacturer operating in a post-opioid-crisis regulatory climate,
13   Defendant either knew or should have known the fact that its Products would cause
14   physical dependency. Defendant’s failure to disclose these risks is not mere negligence—
15   it constitutes a knowing omission of material fact on its advertisements or in their Products’
16   packaging in violation of basic consumer protection norms.
17         49.    The very act of chemically isolating 7-OH from raw kratom and marketing it as
18   a retail supplement confirms Defendant’s knowledge of its potency and intended effect. Yet,
19   Defendant markets its 7-OH Products as if they are nothing more than over-the-counter
20   supplements. Indeed, instead of appropriately labeling the Products as opioid analogs or
21   controlled-substance-adjacent, Defendant package its Tablet and Shot Products in glossy,
22   colorful designs more reminiscent of candy or energy drinks than of a highly addictive
23   narcotic. Indeed, the Products at issue here are unfit for human consumption due to their
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        See, e.g., Kenjiro Matsumoto et al., Antinociceptive Effect of 7-Hydroxymitragynine in
     Mice: Discovery of an Orally Active Opioid Analgesic From the Thai Medicinal Herb
27   Mitragyna        Speciosa,    74(17)        Life      Sciences      2143-155      (2004),
     https://www.sciencedirect.com/science/article/abs/pii/S0024320503011664; see also
28   Andrew C. Kruegel et al., 7-Hydroxymitragynine is an Active Metabolite of Mitragynine
     and a Key Mediator of its Analgesic Effects, 5(6) ACS Central Science 992-1001 (2019),
     https://www.ncbi.nlm.nih.gov/pmc/articles/PMC6598159/.
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 1   highly addictive nature, the risk of severe withdrawal symptoms, and associated physical
 2   and psychological harms.
 3         50.    Most egregiously, Defendant’s original tablet is visually indistinguishable from
 4   Percocet pills sold on the illicit market. The resemblance is not coincidental; it is a dangerous
 5   nod to street-level drug culture that could confuse consumers and embolden misuse.
 6         51.    Comparison images between Percocet tablets and Defendant’s Tablets are
 7   reproduced below. On the left is a photograph of Percocet tablets. On the right is
 8   Defendant’s Tablet Product.
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20           A comparison between Percocet and Defendant’s Se7en Tablet Product
21         52.    As evidenced in the above images, Defendant mimics the look and feel of
22   these prescription opioids which contain a combination of the powerful pain medications
23   acetaminophen and oxycodone. The shade of beige is nearly identical, and Defendant even
24   scores its Tablet Products in the identical manner to match the Percocet tablets. This
25   conduct is outrageous, a moral and ethical failure, and in contravention of public policy.
26         53.    This visual mimicry, when combined with the lack of prominent plain-
27   language warnings, creates the false impression that 7-OH is recreational. It is not. It is a
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 1   psychoactive compound with binding affinity and withdrawal symptoms on par with
 2   morphine, and most consumers have no idea what they are actually ingesting.
 3         54.   Defendant’s back-label disclosures, where they exist at all, are vague and
 4   hidden. These disclosures, pictured below, sometimes include the vague phrase “[r]egular
 5   use of alkaloids may lead to dependence and addiction for some users” buried in fine print
 6   on the bottom left corner of the back side of the packaging.11 These non-prominent
 7   warnings are woefully insufficient for a substance that can cause almost-immediate,
 8   violent, opioid-like withdrawal symptoms.
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       Plaintiffs are informed and believe and thereon allege that this language was only added
28   very recently, well after Plaintiffs unwittingly became addicted to Defendant’s Products,
     and Plaintiffs intend to quickly pinpoint in discovery when the so-called addiction warning
     was first introduced.
                                    CLASS ACTION COMPLAINT                                   16
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 1          55.    These disclosures are the only disclosures Defendant provides and are on the
 2   back of the packaging. Reasonable consumers are not expected to “discover the truth” from
 3   “small print on the side of the box.” 12 Further, a disclosure is meaningless if nobody can
 4   read it. 13 Here, the disclosures are not legible and must be blown up by at least 300% before
 5   they begin to be discernible.
 6          56.    Meanwhile, Defendant’s broader marketing campaign highlights only
 7   benefits: “flavorful, portable, and potent kratom experience,” “quick and efficient effects,”
 8   “excellent value per dose,” “carefully crafted for consistency and purity,” and a wide
 9   variety of fruity, enticing flavors.14 It never discloses the flip side: that regular use can lead
10   to debilitating withdrawal symptoms, compulsive re-dosing, and loss of autonomy over
11   one’s behavior.
12          57.    Defendant sells not just one addictive product, but a growing line of them. Its
13   30 mg 7-OH Tablets come in twelve flavors, its 20 mg 7-OH Tablets come in five flavors,
14   its 15 mg Tablets come in six flavors, and there’s five flavors of its 30 ml 7-OH liquid extract
15   7-OH Shot Products. This breadth of formulation reveals a systematic strategy to package
16   and push addictive alkaloids to a wide consumer base. Defendant markets and sells its 7-OH
17   extract Shot Products, pictured below, in the same vague and deceptive packaging as it does
18   for its Tablet Products.
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        Williams v. Gerber Prods. Co., 552 F.3d 934, 939 (9th Cir. 2008); accord Kahn v.
22   Walmart, Inc., 107 F.4th 585, 597 (7th Circ. 2024) (following Williams and collecting
     similar authorities); Thornton v. Pinnacle Foods Grp. LLC, No. 4:16–CV–00158 JAR,
23   2016 WL 4073713, at *3 (E.D. Mo. Aug. 1, 2016) (holding that “the mere presence of an
     ingredient statement on the back of a product does not eliminate the possibility that
24   reasonable consumers may be misled”) (internal quotation omitted).
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     13
        See Smith v. No. 2 Galesburg Crown Fin. Corp., 615 F.2d 407, 418 (7th Cir. 1980),
     overruled on other grounds by Pridegon v. Gates Credit Union, 683 F.2d 182 (7th Cir.
26   1982) (holding that “required disclosures become meaningless if the consumer is unable to
     decipher them”); Scott v. Enhanced Recovery Corp., No. CV-05-5338 (CPS), 2006 WL
27   1517755 at *4 (E.D.N.Y. May 31, 2006) (explaining that “disclosures may not be placed
     in minute or unreadable print”).
28   14
        See, e.g., Se7en Kratom 7-Hydroxymitragynine Liquid Shot Watermelon Ice 30ml, PURE
     LEAF             KRATOM,             https://pureleafkratom.com/products/se7en-kratom-7-
     hydroxymitragynine-liquid-shot-watermelon-ice-30ml.html (last visited July 2, 2025).
                                      CLASS ACTION COMPLAINT                                        17
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18         58.    Rather than take a precautionary approach given the public health
19   implications of selling such compounds, Defendant has adopted a marketing strategy that
20   actively downplays addiction risks in favor of slick design, flavor appeal, and therapeutic
21   euphemism.
22         59.    Defendant’s failure to provide clear, prominent, and accurate warnings is
23   particularly indefensible given its superior knowledge of the chemical properties and health
24   risks associated with 7-OH. Reasonable consumers—many of whom are seeking
25   alternatives to opioids or recovery tools—have no way to discern from the packaging alone
26   that they are purchasing a powerful opioid mimic.
27         60.    Defendant knows this. It understands that full transparency about 7-OH’s
28   opioid receptor binding profile and addiction potential would undercut demand for Se7en


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 1   Products and expose them to heightened scrutiny. That is why the company chose to say
 2   as little as possible—while giving just enough of a nod to “habit-forming” properties to
 3   feign compliance in fine print.
 4         61.    That is not a warning. It is a calculated evasion.
 5         62.    Addiction is not a theoretical risk—it is the foreseeable consequence of
 6   regular 7-OH use. Defendant’s Products cause that addiction. By failing to disclose that
 7   reality, Defendant has breached a duty it owes to every consumer: the duty to disclose
 8   material health and safety risks associated with its Products.
 9         63.    There is nothing on the face of Defendant’s Products that would lead a
10   reasonable consumer to believe they are purchasing a chemical compound with the
11   addictive potential of an opioid. The packaging looks like a vitamin. The warnings are
12   ineffective. The marketing is misleading.
13         64.    This is not an accident, it is a strategy. Defendant relied on the average
14   consumer’s ignorance of 7-OH to increase sales, build customer dependency, and entrench
15   a recurring purchase model grounded in addiction, not satisfaction.
16         65.    Defendant omitted these warnings for one reason: disclosure would hurt
17   sales. And so, rather than reduce demand, Defendant obscured the truth.
18         66.    This conduct is dangerous, unethical, and against public policy. It violates the
19   principles of honest commerce and threatens public health in a time when the nation is still
20   grappling with the fallout from decades of opioid addiction and pharmaceutical fraud.
21         67.    The opioid crisis has killed hundreds of thousands of Americans. Yet
22   Defendant, fully aware of the chemical nature of 7-OH and its addictiveness, has inserted
23   its Products into the consumer market with no legitimate warning regime, effectively
24   adding fuel to the fire—solely for profit.
25         68.    Because the concealment of these facts concerns a material, safety-related
26   defect in the very nature of Defendant’s Products, Defendant had a continuous duty to
27   disclose the true composition and addiction risks of those Products. As the manufacturer,
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 1   formulator, seller, and promoter of the Products, Defendant had superior and exclusive
 2   knowledge of these risks—and it actively chose to withhold them from consumers.
 3                                            PARTIES
 4         69.    Plaintiff J.H. is a resident and citizen of Solvang, California, located in Santa
 5   Barbara County. In or around late 2023 or early 2024, he encountered Se7en-brand 7-OH
 6   Products for sale at a local smoke shop. With a personal history of substance use and a
 7   strong desire to avoid relapse, Plaintiff J.H. exercised caution in selecting substances and
 8   relied heavily on packaging disclosures to make informed decisions. The Se7en packaging
 9   provided no meaningful indication that the Products contained a potent, chemically isolated
10   mu-opioid receptor agonist with addiction risks and withdrawal effects comparable to those
11   of synthetic opioids. Any mention of 7-OH on the label failed to convey the true nature or
12   danger of the compound. Believing that a legally sold product with no clear addiction
13   warning could not pose serious risk, Plaintiff J.H. began using Se7en Products daily.
14   Unbeknownst to him, the Product’s active compound triggered a rapid onset of physical
15   dependence. Within weeks, Plaintiff J.H. experienced severe withdrawal symptoms when
16   attempting to reduce or skip a dose, including insomnia, panic attacks, full-body aches,
17   temperature dysregulation, and debilitating anxiety. These symptoms forced him into
18   continued use merely to function up until very recently when, despite suffering intense and
19   major withdrawals, he succeeded in stopping his use. Had the Se7en packaging included a
20   clear and accurate warning about the risk of addiction and withdrawal, Plaintiff J.H. would
21   not have purchased or ingested the Product.
22         70.    Plaintiff M.G. is a resident and citizen of Palo Alto, California, located in
23   Santa Clara County. He first learned about kratom through a friend and began using it
24   regularly in 2023. In January 2025, Plaintiff M.G. began using Se7en-brand 7-OH Tablet
25   Products after seeing them promoted as a cheaper alternative to his usual kratom products.
26   He thereafter purchased Se7en Products regularly from local head shops, smoke shops, and
27   gas stations in the Palo Alto area. At the time of his initial purchase, the Products’
28   packaging, labeling, and store signage contained no warnings—either verbal or visual—


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 1   about the risk of addiction, withdrawal symptoms, or other serious health effects. Believing
 2   the Products to be safe and comparable to kratom, Plaintiff M.G. began daily use and
 3   quickly developed a physical dependence. At the height of his addiction, he was consuming
 4   approximately 200 mg of 7-OH per day and spending up to $500 per week to sustain his
 5   use. He first realized he was addicted when he attempted to stop taking the Products and
 6   experienced intense, opioid-like withdrawal symptoms, including cold sweats, nausea, and
 7   uncontrollable tremors. These symptoms were so severe that they made cessation
 8   extremely difficult, seemingly impossible. Only recently was Plaintiff M.G. able to
 9   discontinue use after gradually weaning himself off the Products. At no point did the
10   packaging make any meaningful disclosure about how incredibly addictive the Products
11   were or that they were capable of causing the kind of physical dependency and withdrawal
12   symptoms he experienced. Had such warnings been provided, Plaintiff M.G. would never
13   have purchased or consumed Defendant’s Se7en Products.
14         71.    Defendant Ashlynn Marketing Group, Inc. is a corporation organized under
15   the laws of the State of California, with its principal place of business in Santee, California.
16   Defendant owns and operates a commercial website under the “Krave” brand and
17   distributes its Se7en-brand Products through a network of third-party retailers, including
18   smoke shops and online resellers. While Defendant publicly markets its Kratom and 7-OH
19   Products under the Krave brand, it also secretly formulates, manufactures, and sells Se7en-
20   brand 7-OH Products without disclosing its affiliation with the Se7en brand on its website
21   or through any public-facing marketing materials. Upon information and belief, Se7en is
22   among several unbranded or shadow-branded Products Defendant places into the stream
23   of commerce and directs at California consumers, including Plaintiffs.15 At all relevant
24   times, Defendant knew or should have known that its products—including those under the
25   Se7en brand—posed a significant risk of addiction and opioid-like withdrawal and failed
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        Plaintiffs allege, on information and belief, that the absence of a standalone Se7en
28   website is intentional—designed to conceal Defendant Ashlynn Marketing Group, Inc.’s
     role in formulating, manufacturing, and distributing the Products, and to prevent consumers
     from linking the Se7en brand to Ashlynn’s broader kratom operations.
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 1   to meaningfully disclose these material facts on its packaging, promotional materials, or
 2   affiliated websites.
 3         72.    Plaintiffs do not know the true names or capacities of the persons or entities
 4   sued herein as Does 1-50, inclusive, and therefore sue such Defendants by such fictitious
 5   names. Plaintiffs are informed and believe, and upon such information and belief alleges,
 6   that each of the Doe Defendants is, in some manner, legally responsible for the damages
 7   suffered by Plaintiffs and members of the proposed Classes as alleged herein. Plaintiffs
 8   will amend this Complaint to set forth the true names and capacities of these Defendants
 9   when they have been ascertained, along with appropriate charging allegations, as may be
10   necessary.
11                                  CLASS ALLEGATIONS
12         Plaintiffs bring this action pursuant to Rules 23(a), (b)(2) and (b)(3) of the Federal
13   Rules of Civil Procedure on behalf of themselves and all other Class members, defined as
14   follows:
15         Nationwide Class:
16         All persons in the United States nationwide who, within the applicable statute
17         of limitations period, purchased Se7en 7-hydroxymitragynine Products
18         manufactured, distributed, or sold by Defendant.
19         California Class:
20         All persons in California who, within the applicable statute of limitations
21         period, purchased Se7en 7-hydroxymitragynine Products manufactured,
22         distributed, or sold by Defendant.
23         73.    Excluded from the Classes is Defendant, as well as its officers, employees,
24   agents or affiliates, parent companies and/or subsidiaries, and each of its respective
25   officers, employees, agents or affiliates, and any judge who presides over this action.
26   Plaintiffs reserve the right to expand, limit, modify, or amend these Class definitions,
27   including the addition of one or more subclasses, in connection with their motion for Class
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 1   certification, or at any other time, based upon, inter alia, changing circumstances and/or
 2   new facts obtained during discovery.
 3         74.    Numerosity: The members of the Classes are so numerous that joinder of all
 4   members is impracticable. Plaintiffs are informed and believe that the proposed Classes
 5   contain at least thousands of consumers throughout California and the United States who
 6   purchased Defendant’s Se7en Products and have been harmed by Defendant’s conduct as
 7   alleged herein. The precise number of members of the Classes is unknown to Plaintiffs at
 8   this time.
 9         75.    Commonality and Predominance: This action involves common questions of
10   law and fact, which predominate over any questions affecting individual members of the
11   Classes. These common legal and factual questions include, but are not limited to:
12                a.     whether the packaging and advertising labels on Defendant’s Products
13         have the capacity to mislead reasonable consumers;
14                b.     whether Defendant knew that its Se7en Products, containing isolated 7-
15         OH, are highly addictive and cause physical and psychological dependence and
16         opioid-like withdrawal symptoms;
17                c.     whether Defendant had a duty to disclose that the 7-OH in its Se7en
18         Products is addictive on the Products’ packaging;
19                d.     whether Defendant’s conduct alleged herein violated the FAL, CLRA,
20         and UCL;
21                e.     whether Defendant’s conduct alleged herein constitutes unjust
22         enrichment;
23                f.     whether Defendant’s conduct constitutes a fraudulent omission;
24                g.     whether Plaintiffs and the Classes are entitled to damages and/or
25         restitution; and
26                h.     whether an injunction is necessary to prevent Defendant from
27         continuing to sell the 7-OH Se7en Products without addition and withdrawal risk-
28         related warning labels.


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 1         76.    Typicality: Plaintiffs’ claims are typical of the claims of the other members of
 2   the Classes in that Plaintiffs and the Class members each purchased Se7en Products without
 3   knowing they were addictive, and each was injured in substantially the same manner by
 4   Defendant’s uniform wrongful course of conduct—specifically, by paying for a Product
 5   that was materially misrepresented or not adequately disclosed to be an opioid-like
 6   substance with high addiction potential, based upon Defendant’s failure to inform Plaintiffs
 7   and all others similarly situated that its Products are highly addictive, or pose a risk thereof,
 8   and are akin to opioids.
 9         77.    Adequacy: Plaintiffs will fairly and adequately protect the interests of the
10   members of the Classes. Plaintiffs have retained counsel experienced in complex consumer
11   class action litigation, and Plaintiffs intend to prosecute this action vigorously. Plaintiffs
12   have no antagonistic or adverse interests to those of the Classes.
13         78.    Superiority: A class action is superior to all other available methods for the
14   fair and efficient adjudication of this controversy for, inter alia, the following reasons:
15   prosecutions of individual actions are economically impractical for members of the
16   Classes; the Classes are readily definable; prosecution as a class action avoids repetitious
17   litigation and duplicative litigation costs, conserves judicial resources, and ensures
18   uniformity of decisions; some class members are unaware they are being harmed due to
19   Defendant’s deceptive conduct, and prosecution as a class action permits claims to be
20   handled in an orderly and expeditious manner.
21         79.    Defendant has acted or failed to act on grounds generally applicable to the
22   Classes, thereby making appropriate final injunctive relief with respect to the Classes as a
23   whole.
24         80.    Without a class action, Defendant will continue its unlawful, deceptive, and
25   misleading practices that will result in further damages to Plaintiffs, members of the
26   Classes, and the general public—who are also negatively impacted by the dregs of
27   addiction—and will likely retain the benefits of its wrongdoing.
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 1         81.    Based on the forgoing allegations, Plaintiffs’ claims for relief include those
 2   set forth below.
 3         82.    Plaintiffs are informed and believe that Defendant maintains extensive
 4   computerized records through its online sales data, as well as through, inter alia, general
 5   marketing programs. Defendant has one or more databases through which a significant
 6   majority of members of the Classes may be identified and ascertained, and Defendant
 7   maintains contact information, including email and home addresses, through which notice
 8   of this action could be disseminated in accordance with due process requirements.
 9                                FIRST CAUSE OF ACTION
                   Violation of California’s Unfair Competition Law (“UCL”)
10                      Business and Professions Code, §§ 17200, et seq.
11         83.    Plaintiffs re-allege and incorporate by reference every allegation set forth in
12   the preceding paragraphs.
13         84.    Plaintiffs bring this cause of action individually and on behalf of the members
14   of the proposed California Class against Defendant.
15         85.    The UCL prohibits unfair competition in the form of “any unlawful, unfair, or
16   fraudulent, business act or practice and unfair, deceptive, untrue or misleading advertising
17   and any act[.]” A practice is unfair if it: (1) offends public policy; (2) is immoral, unethical,
18   oppressive, or unscrupulous; or (3) causes substantial injury to consumers. The UCL
19   allows “a person who has suffered injury in fact and has lost money or property” to
20   prosecute a civil action for violation of the UCL. Such a person may bring such an action
21   on behalf of himself or herself and others similarly situated who are affected by unlawful
22   and/or unfair business practices or acts.
23         86.    Defendant has committed unlawful, fraudulent, and/or unfair business
24   practices under the UCL, including but not limited to (a) representing that its Se7en
25   Products have certain characteristics they do not, in violation of California Civil Code
26   § 1770(a)(5); (b) advertising goods with the intent not to sell them as advertised, in
27   violation of California Civil Code § 1770(a)(9); (c) profiting from the sale of highly
28   addictive synthetic substances while concealing their true nature to unsuspecting


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 1   consumers; and (d) failing to prominently disclose that its Se7en Products pose a serious
 2   risk of addiction, dependency, and withdrawal symptoms akin to opioids.
 3            87.   Defendant’s conduct has the capacity to deceive and mislead a significant
 4   portion of the public, including reasonable consumers acting under the impression that the
 5   Products are safe, natural, and non-addictive.
 6            88.   Plaintiffs and the California Class were injured by Defendant’s conduct
 7   because they paid money for Se7en Products they would not have purchased—or would
 8   have paid significantly less for—had they known the truth, but for Defendant’s failure to
 9   disclose the addictive nature, or risk of addiction of the 7-OH in its Se7en Products. Such
10   injury is substantial and not outweighed by any countervailing benefit to consumers or
11   competition. Since consumers reasonably rely on Defendant’s labels, and thus also
12   Defendant’s omissions, consumers themselves could not have reasonably avoided such
13   injury because of the omission of material facts from the product packaging and marketing.
14            89.   Moreover, Defendant’s Products pose an unreasonable health hazard because
15   7-OH is a highly addictive opioid-receptor agonist, and may induce serious withdrawal
16   symptoms. Accordingly, Defendant had a duty to disclose the risk of physical and
17   psychological dependence to consumers on the Products’ labels, advertisements, and
18   marketing materials.
19            90.   Pursuant to California Business and Professions Code § 17203, Plaintiffs and
20   the California Class seek an order of this Court that includes, but is not limited to, an order
21   requiring Defendant to (a) provide restitution to Plaintiffs and the other California Class
22   members; (b) disgorgement of all revenues obtained as a result of Defendant’s violations
23   of the UCL; and (c) pay Plaintiffs and the California Class members’ attorneys’ fees and
24   costs.
25            91.   Equitable relief is appropriate because Plaintiffs may lack an adequate remedy
26   at law—for example, if damages do not fully compensate them for the premium they paid
27   under false pretenses, such as if the damage resulting from the purchase of the Products is
28   determined to be an amount less than the premium price of the Products. Without


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 1   compensation for the full premium price of the Products, Plaintiffs would be left without
 2   the parity in purchasing power to which they are entitled.
 3                               SECOND CAUSE OF ACTION
                    Violation of California’s False Advertising Law (“FAL”)
 4                      Business and Professions Code, §§ 17500, et seq.
 5         92.    Plaintiffs reallege and reincorporate by reference all preceding paragraphs.
 6         93.    Plaintiffs bring this cause of action individually and on behalf of the California
 7   Class against Defendant.
 8         94.    Defendant’s acts and practices, as described herein, have deceived, and are
 9   likely to continue to deceive, California Class members and the public at large. As
10   described throughout this Complaint, Defendant failed to disclose that its Se7en Products
11   containing 7-OH are addictive, or carries a risk of addiction, on its Products’ packaging.
12         95.    Defendant disseminated false, misleading, and deceptive advertising across
13   California regarding its Se7en Products through its Se7en packaging, online marketing,
14   and distribution partners, falsely suggesting that the Products were natural, safe, and non-
15   addictive.
16         96.    This advertising was, by its very nature, unfair, deceptive, untrue, and
17   misleading within the meaning of the FAL. Such advertisements were intended to, and
18   likely did, deceive the public for the reasons detailed herein.
19         97.    Defendant’s false, misleading, and deceptive advertising is ongoing and likely
20   to continue misleading consumers unless stopped by judicial intervention because
21   Defendant continues to misrepresent that its Products are safe and beneficial to consume.
22         98.    Defendant knew, or should have known, that in making and disseminating
23   these statements, its advertisements were untrue and misleading in violation of California
24   law. Defendant knows that the Se7en Products are highly addictive, or have a risk thereof,
25   yet fails to disclose this fact to consumers.
26         99.    Plaintiffs and the California Class members purchased Defendant’s Se7en
27   Products based on Defendant’s misrepresentations and omissions indicating that the
28   Products are not addictive.


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 1             100. Defendant’s misrepresentations and non-disclosures of the material facts
 2   described herein constitute false and misleading advertising and, therefore, constitute a
 3   violation of the FAL.
 4             101. As a result of Defendant’s misconduct, Plaintiffs and California Class
 5   members lost money in an amount to be proven at trial. Plaintiffs and the California Class
 6   are therefore entitled to restitution as appropriate for this cause of action.
 7             102. Plaintiffs and the California Class seek all monetary and non-monetary relief
 8   allowed by law, including restitution of all profits stemming from Defendant’s unfair,
 9   unlawful, and fraudulent business practices; declaratory relief; reasonable attorneys’ fees
10   and costs under California Code Civil Procedure § 1021.5; and other appropriate equitable
11   relief.
12                                   THIRD CAUSE OF ACTION
                 Violation of California’s Consumers Legal Remedies Act (“CLRA”),
13                              California Civil Code, §§ 1750, et seq.
14             103. Plaintiffs reallege and reincorporate by reference all preceding paragraphs.
15             104. Plaintiffs bring this claim individually and on behalf of the California Class
16   against Defendant.
17             105. Plaintiffs and California Class members are “consumers” within the meaning
18   of California Civil Code § 1761(d) of the CLRA, as they purchased goods for personal,
19   family, or household purposes.
20             106. Civil Code § 1770(a)(5) prohibits “[r]epresenting that goods or services have
21   sponsorship, approval, characteristics, ingredients, uses, benefits, or quantities which they
22   do not have or that a person has a sponsorship, approval, status, affiliation, or connection
23   which she or he does not have.”
24             107. Civil Code § 1770(a)(7) prohibits “[r]epresenting that goods or services are of
25   a particular standard, quality, or grade, or that goods are of a particular style or model, if
26   they are of another.”
27             108. Civil Code § 1770(a)(9) prohibits “advertising goods or services with intent
28   not to sell them as advertised.”


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 1         109. Defendant violated Civil Code §§ 1770(a)(5), (a)(7), and (a)(9) of the CLRA
 2   by failing to disclose that its Se7en Products are highly addictive, or are potentially
 3   addictive, cause withdrawal symptoms akin to opioid withdrawal, and are an unreasonable
 4   health hazard and necessarily a fact that is material to reasonable consumers.
 5         110. Defendant’s misrepresentations and omissions deceived, and have a tendency
 6   and ability to deceive, the general public.
 7         111. Defendant has exclusive or superior knowledge of 7-OH’s addictive nature
 8   and pharmacological effects, which was not known to Plaintiffs or California Class
 9   members because Defendant failed to warn them.
10         112. Plaintiffs and the California Class suffered harm as a result of these violations
11   of the CLRA, Civil Code § 1750, because they have paid money for Se7en Product(s) they
12   would not have purchased had they known the harms of 7-OH. As a result, Plaintiffs and
13   the California Class are entitled to actual damages in an amount to be proven at trial,
14   attorneys’ fees and costs, declaratory relief, and punitive damages.
15         113. On July 16, 2025, Plaintiffs’ counsel sent Defendant a CLRA notice letter,
16   which complies in all respects with § 1782(a). The letter was sent via certified mail, return
17   receipt requested, and advised Defendant that it was in violation of the CLRA and
18   demanded Defendant cease and desist from such violations and make full restitution by
19   refunding the monies received therefrom. The CLRA letter stated that it was sent on behalf
20   of all other similarly situated purchasers.
21                                FOURTH CAUSE OF ACTION
                                   Breach of Implied Warranty
22

23         114. Plaintiffs reallege and reincorporate by reference all paragraphs alleged
24   above.
25         115. Plaintiffs bring this cause of action individually and on behalf of the
26   Nationwide Class against Defendant.
27         116. Defendant, as the designer, manufacturer, marketer, distributor, and/or seller
28   of the Se7en Products, impliedly warranted that the 7-OH Se7en Products were of


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 1   merchantable quality and safe for human consumption, and not addictive and did not cause
 2   opioid-like withdrawal symptoms because it did not disclosure on the Products’ packaging
 3   otherwise.
 4         117. Defendant breached its warranty implied in the contract for the sale of its 7-
 5   OH Se7en Products because the Products could not pass without objection in the trade
 6   under the contract description: the 7-OH Products were not adequately contained,
 7   packaged, and labeled as per Defendant’s contract with Plaintiffs and the Nationwide Class
 8   members, and the Products did not conform to the implied affirmations of fact made by its
 9   marketing and packaging that the Products are not addictive, are not potentially addictive,
10   and do not cause withdrawals per U.C.C. §§ 2-313(2)(a), (e), (f). As a result, Plaintiffs and
11   the members of the Nationwide Class did not receive the goods as impliedly warranted by
12   Defendant to be merchantable. The Products failed to meet minimum standards of
13   merchantability as required by U.C.C. §§ 2-314 and 2-315.
14         118. Plaintiffs and the Nationwide Class members purchased the Se7en Products
15   in reliance upon Defendant’s skill and judgment and the implied warranties of fitness for
16   the purpose that the Products were reasonably safe, suitable, and fit for ordinary use.
17         119. The Se7en Products were defective when they left Defendant’s exclusive
18   control.
19         120. Plaintiffs and the Nationwide Class did not receive the goods as warranted.
20         121. Plaintiffs are not in direct contractual privity with Defendant. However, under
21   California law, privity is not required to assert implied warranty claims involving
22   foodstuffs or other products intended for human consumption. Defendant marketed and
23   sold its Se7en brand 7-OH Products as consumable dietary supplements to be ingested by
24   consumers for their purported mood-enhancing and relaxing effects. Plaintiffs purchased
25   and consumed the Se7ven 7-OH Products as intended. Despite these representations, the
26   Products are unfit for human consumption due to their highly addictive nature, their risk of
27   severe withdrawal symptoms, and the associated physical and psychological harms they
28   cause. Defendant itself acknowledges on its website, kravekratom.com, that its (less potent)


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 1   Krave brand kratom products are “[n]ot deemed fit for human consumption by FDA.”16
 2   This further underscores the unregulated and hazardous nature of these Products. Because
 3   the Se7en brand 7-OH Products were intended for ingestion but are unsafe for that purpose,
 4   the exception to the privity requirement for foodstuffs applies, and Plaintiffs are entitled to
 5   bring claims for breach of the implied warranty of merchantability regardless of privity.
 6           122. As a direct and proximate cause of Defendant’s breach of its implied warranty,
 7   Plaintiffs and the Nationwide Class have been injured in fact and suffered harm because
 8   (i) they would not have purchased Defendant’s Products on the same terms if they knew
 9   the truth that the Products were addictive and could cause opioid-like withdrawal
10   symptoms; (ii) the Se7en Products do not have the characteristics, uses, or benefits as
11   promised by Defendant; and (iii) Plaintiffs and proposed Nationwide Class members
12   consumed addictive Products unfit for regular human ingestion, and suffered addiction,
13   physical and psychological dependence, painful withdrawals, and other adverse health
14   consequences.
15           123. On July 16, 2025, prior to filing this action, Defendant Ashlynn Marketing
16   Group, Inc., was served with a pre-suit notice letter on behalf of Plaintiffs that complied in
17   all respects with U.C.C. §§ 2-314 and 2-607. Plaintiffs’ counsel sent Defendant a letter
18   advising Defendant that it breached an implied warranty and demanded Defendant cease
19   and desist from such breaches and make full restitution by refunding the monies received
20   therefrom.
21
                                   FIFTH CAUSE OF ACTION
22                                     Unjust Enrichment
23           124. Plaintiffs incorporate by reference the foregoing paragraphs of this Complaint
24   as fully stated herein.
25           125. Plaintiffs bring this cause of action individually and on behalf of the
26   Nationwide Class members against Defendant.
27

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     16
          Krave Kratom, https://www.kravekratom.com/ (last accessed June 27, 2025).
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 1         126. Plaintiffs and the Nationwide Class conferred a benefit on Defendant in the
 2   form of the gross revenues Defendant derived from the money they paid to Defendant by
 3   purchasing Se7en Products under the mistaken belief that they were safe, non-addictive,
 4   and suitable to consume.
 5         127. Defendant had an appreciation and knowledge of the benefit conferred on it
 6   by Plaintiffs and the Nationwide Class members as it directly receives revenues from the
 7   sale of the Products.
 8         128. Defendant has been unjustly enriched in retaining the revenues derived from
 9   Plaintiffs’ and the Nationwide Class members’ purchases of the Products, and retention of
10   such revenues under these circumstances is unjust and inequitable because Defendant
11   failed to disclose on the Products’ packaging the Products were addictive, or were
12   potentially addictive, and similar to opioids. Defendant’s misrepresentation and
13   concealment of the safety and nature of the Products caused health-related and economic
14   injuries to Plaintiffs and the Nationwide Class because they would not have purchased the
15   Products or would have paid less for them if the true facts concerning the Products had
16   been known.
17         129. Defendant knowingly accepted and retained the benefits it derived in the
18   amount of the gross revenues from sales of the Products to Plaintiffs and the Nationwide
19   Class members.
20         130. Defendant has thereby profited by retaining the benefit under circumstances
21   that would make it unjust for Defendant to retain the benefit without paying restitution.
22         131. Plaintiffs and the Nationwide Class members are, therefore, entitled to
23   restitution in the form of the revenues derived from Defendant’s sale of the Se7en Products.
24         132. As a direct and proximate result of Defendant’s conduct, Plaintiffs and the
25   Nationwide Class members have suffered damages in an amount to be proven at trial.
26         133. Equitable relief is appropriate because Plaintiffs may lack an adequate remedy
27   at law, particularly if damages resulting from their purchase of the Products are determined
28



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 1   to be an amount less than the premium price of the Products, and Plaintiffs would be left
 2   without the parity in purchasing power to which they are entitled.
 3         134. Restitution may also be more certain, prompt, and efficient than other legal
 4   remedies requested herein. The return of the full premium price will ensure that Plaintiffs
 5   are in the same place they would have been in had Defendant’s wrongful conduct not
 6   occurred, i.e., in the position to make an informed decision about the purchase of the
 7   Products absent omissions with the full purchase price at their disposal.
 8                                 SIXTH CAUSE OF ACTION
                                       Fraud by Omission
 9

10         135. Plaintiffs reallege and reincorporate by reference all preceding paragraphs.
11         136. Plaintiffs bring this claim individually and on behalf of the Nationwide Class
12   against Defendant.
13         137. Defendant distributed, marketed, and sold its Se7en 7-OH Products
14   throughout the United States, including within the State of California.
15         138. Defendant misrepresented that its 7-OH Se7en Products had attributes or
16   qualities that they do not have by knowingly failing to disclose that 7-OH is highly
17   addictive and can cause opioid-like withdrawal symptoms.
18         139. Defendant possess superior knowledge of the addictive pharmacology of 7-
19   OH, due to its technical role in isolating, concentrating, and formulating the compound into
20   consumer-facing Tablets and Shots. Defendant has also received consumer complaints and
21   online reports of opioid dependency and severe withdrawal effects.
22         140. Defendant knew that the addiction and withdrawal risks of 7-OH are material
23   facts that reasonable consumers would consider when deciding whether to purchase the
24   Se7en Products and would influence their purchasing decisions because addiction is an
25   unreasonable health hazard.
26         141. Defendant had a duty disclose to Plaintiffs and to the Nationwide Class
27   members these material facts that 7-OH is addictive and can cause withdrawal symptoms
28   on the Products’ packaging.


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 1         142. Reasonable consumers, including Plaintiffs, justifiably relied on Defendant’s
 2   omission of any clear warning or disclaimer, because it is reasonable to assume that a
 3   consumer product with opioid-like addictive properties and side effects would carry an
 4   adequate warning label on its packaging if it were dangerous or habit-forming.
 5         143. As a direct result of Defendant’s fraudulent omissions, Plaintiffs and the
 6   Nationwide Class paid for Se7en Products they otherwise would not have purchased, or
 7   paid more for those Products than they would have, had they known the truth about 7-OH.
 8                                   PRAYER FOR RELIEF
 9         Plaintiffs, on behalf of themselves and the proposed Classes, respectfully request
10   that the Court enter judgment against Defendant as follows:
11               a.     certifying the proposed Classes and appropriate subclasses, and
12         appointing Plaintiffs as Class Representatives and their counsel as Class Counsel;
13               b.     awarding actual, consequential, statutory, and punitive damages to
14         Plaintiffs and Class members, including legal damages under the CLRA if and when
15         Defendant fails to take corrective action within the 30-day statutory period following
16         receipt of Plaintiffs’ CLRA notice letter pursuant to California Civil Code § 1782(a);
17               c.     awarding restitution and requiring disgorgement of all monies
18         improperly received by Defendant’s unjust enrichment that Defendant obtained from
19         Plaintiffs and the members of the Classes as a result of Defendant’s unlawful, unfair,
20         and fraudulent conduct;
21               d.     granting declaratory and injunctive relief, as permitted by law or equity,
22         including enjoining Defendant from continuing the unlawful practices set forth
23         herein, and requiring Defendant, with Court supervision, to identify and notify
24         victims of its misconduct and provide pay them all money it is required to pay to
25         provide restitution to all purchasers of the Products;
26               e.     ordering Defendant to undertake a nationwide corrective advertising
27         campaign to inform consumers of the true risks associated with its Se7en Products;
28



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 1              f.       awarding attorneys’ fees and costs, including recoverable attorneys’
 2        fees and costs under the CLRA if and when Defendant fails to take corrective action
 3        within the 30-day statutory period following receipt of Plaintiffs’ CLRA notice letter
 4        pursuant to California Civil Code § 1782(a); and
 5              g.       awarding any other further relief as the Court may deem necessary or
 6        appropriate.
 7                                 JURY TRIAL DEMANDED
 8        Plaintiffs demand a trial by jury on all issues so triable.
 9   Dated: July 16, 2025                    LYNCH CARPENTER, LLP
10                                           By:/s/Todd D. Carpenter
                                              Todd D. Carpenter (Cal. Bar No. 234464)
11                                           todd@lcllp.com
                                             Scott G. Braden (Cal. Bar No. 305051)
12                                           scott@lcllp.com
                                             9171 Towne Centre Drive, Suite 180
13                                           San Diego, California 92122
                                             Telephone: 619-762-1910
14                                           Facsimile: 858-313-1850
15                                           Attorneys for Plaintiffs and
                                             Proposed Class Counsel
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 1          CLRA Venue Declaration Pursuant to California Civil Code § 1780(d)
 2         I, Todd D. Carpenter, declare as follows:
 3         1.     I am an attorney duly licensed to practice law in the State of California and an
 4   admitted member of the bar of this Court. I am a partner at Lynch Carpenter, LLP, counsel
 5   of record for Plaintiffs in this action. I have personal knowledge of the matters stated herein
 6   and, if called as a witness, I could and would testify completely thereto under oath.
 7         2.     The Complaint filed in this action is filed in the proper venue for trial pursuant
 8   to California Civil Code Section 1780(d) because a substantial portion of the events alleged
 9   in the Complaint occurred in this District, including the marketing, sale, distributed, and/or
10   distribution of the Products at issue to Plaintiffs and other Class Members. Plaintiff J.H.
11   resides in Solvang, California, within this District.
12         3.     I declare under penalty of perjury under the laws of the State of California and
13   the United States of America that the foregoing is true and correct. This declaration was
14   executed in San Diego, California, this July 16, 2025.
15

16                                              /s/ Todd D. Carpenter
                                                    Todd D. Carpenter
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